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5:03 PM                              Cashman Equipment Corp.
02/01/22             Bills for TRINITY OFFSHORE SUPPLY & TOW LIMITED
                                              All Transactions

                   Type    Num       Date       Due Date   Aging      Amount         Open Balance


           Bill           898    02/01/2022   02/11/2022                  7,750.00          7,750.00
           Bill           887    01/04/2022   01/14/2022         18       7,750.00          7,750.00
           Bill           880    12/01/2021   12/11/2021         52       7,500.00          7,500.00
           Bill           864    11/01/2021   11/11/2021                  7,750.00
           Bill           855    10/04/2021   10/14/2021                  7,500.00
           Bill           842    09/01/2021   09/11/2021                  7,750.00
           Bill           838    08/03/2021   08/13/2021                  7,750.00
           Bill           829    07/02/2021   07/12/2021                  7,500.00
           Bill           821    06/01/2021   06/11/2021                  7,750.00
           Bill           802    04/30/2021   05/10/2021                  7,500.00
           Bill           787    04/01/2021   04/11/2021                  7,750.00
           Bill           772    03/02/2021   03/12/2021                  7,000.00
           Bill           761    02/01/2021   02/11/2021                  7,750.00
           Bill           749    01/05/2021   01/15/2021                  7,750.00
           Bill           727    11/30/2020   12/10/2020                  7,500.00
           Bill           721    10/31/2020   11/10/2020                  7,750.00
           Bill           711    10/01/2020   10/11/2020                  7,500.00
           Bill           701    09/02/2020   09/12/2020                  7,750.00
           Bill           690    08/03/2020   08/13/2020                 15,000.00
           Bill           685    07/13/2020   07/23/2020                  3,500.00
           Bill           687    07/13/2020   07/23/2020                 15,000.00
           Bill           686    07/13/2020   07/23/2020                 10,500.00

           Total                                                        181,250.00         23,000.00
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                A & M DOCKSIDE REPAIR, rNlC.
                  P.O. BOX 1096, AMELIA, LA 70340
                 PHONE: (985)631-9018 FAX: (9S5)631-2588
                                amdockside(Oatt.net

Cashman                                                     November 22,2021

ATTN: Jamie Guy                                             Ref: Steel Price


Price of barge repair is 58.50 lb. due to recent increasing for new steel purchase.

lf you have further questions, please contact chad Gary at (9851 631-9019.

Respectfully,



 Ud
Chad Gary
A&M Dockside Repair, lnc.




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From: Jamie Guy
Sent: Thursday, July 09,2020 1:40 PM
To: Dan Schwall
Cc: Ray Riddle
Subject: Re: Inv TSU.20.163 JMC 50.pdf

Looking at the deck inside of the walls, you have approximately 200,000 lbs of steel in just the deck
plating. East coast pricing versus GOM will differ dramatically. I don't believe by looking at the pictures
that the whole deck would be a problem, but that's just from the pictures.GOM prices for a job of this
size could range from 5.00/lb to 7.00/lb. East coast would range from 7.00 to 10.00 per pound. That
being said your between 1-2 million worst case scenario. Once again I don't know the exact extent of the
damage. Hopefully this gives you something to work with. lf you need anything else give me a call.
Thanks

Jamie Guy
Sent from my iPhone



On Jul 9,2020, at 12:05 PM, Dan Schwall <dschwall@4barges.com> wrote



         Ray,


         Talking to Jamie Guy, he thinks the cost will be more lil<e $10/lb

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                                                                 TI O N
                                              CONDITION AND VALUATION              2021-06-29
                                                  SURVEY REPORT                     11:24:40




Name of Vessel:                                          JMC 50

Vessel Type:                                             Barge

IMO/ Registration No.:                               Deck Barge

Job Number:                                         TSU-21-0102

Purpose:                                          Owner’s Request

Place of Inspection:                            Chaguaramas, Trinidad

Date of Inspection:                                 29th May 2021

Inspector:                                            C. Lange




                                      REVISION HISTORY

   Revision              Date                             Description
      0                06/06/21                           Final Version




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                                           VESSEL PARTICULARS
           Vessel Type:                   Deck barge with bin walls
           Flag:                          United States of America                                                 2021-06-29
                                                                                                                    11:24:40
           Port of Registry:              Amelia, Louisiana
           Official#:                     1069223
           Length:                        211.20ft
           Breadth:                       60ft
           Depth:                         14ft
           Gross Tonnage:                 1366
           Hull Material:                 Steel
           Year of Build:                 1998
           Builder:                       Corn Island Shipyard, Inc
           Hull #:                        144
           Owner:                         Cashman Equipment Corporation
           Construction Classification:   ABS *A1

CERTIFICATION

                                                      ISSUED BY         EXPIRY                    REMARKS
USCG Certificate of Documentation                       USCG           31/03/2022                   Sighted
Certificate of Classification                            ABS           16/04/2023               Surveys Overdue
International Load Line Certificate                      ABS           16/04/2023               Surveys Overdue
International Oil Pollution Prevention Certificate       ABS           16/04/2023               Surveys Overdue

REMARKS: Vessel’s last dry docking was noted to be 18 th April 2018 therefore it is now in overdue status which
requires that the barge be immediately placed on dry dock for inspection by the American Bureau of Shipping
(ABS). Several Conditions of Class relating to corroded bottom longitudinals and plating were stated as overdue by
the American Bureau of Shipping (ABS) in their survey status report attached in Annex 10 which required
rectification before 16th July 2020. Due to the laid up status of the vessel for the past year immediate rectification of
these repairs on dry dock can now be considered critical for the vessel to be considered safe and seaworthy.




                                   EXECUTIVE SUMMARY STATEMENT

The barge JMC 50 was generally considered to be in fair condition however there were clear indications of
accelerated steel corrosion and wastage, particularly with respect to bin wall steel structures and bridle chain
arrangements. The excessive hull corrosion evident, in addition to the outstanding conditions imposed by the
Classification Society ABS require urgent rectification of all structural defects noted herein inclusive of dry docking.
The vessel has not been inspected on dry dock for the past 3 years therefore it would be reasonable to assume
that all hull zinc anodes are depleted resulting in the accelerated corrosion observed. Consequently, the
undersigned strongly advises that the owners Cashman Equipment Corporation as stated in the USCG Certificate
of Documentation for registry take urgent and immediate action to ensure the barge is dry docked and necessary
repairs to its structure dealt with.



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                                          GENERAL DESCRIPTION
The barge was of all welded construction and of typical open deck cargo carriage configuration.
                                                                                             n. The
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                                                                                                 he internal
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                                                                                                             sub-
division consisted of three (3) longitudinal and five (5) transverse watertight bulkheads resulting in
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individual watertight compartments. Each compartment was fitted with an 18” diameter single T-bolt  fflush
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Towing pad eyes were located on port and starboard bow with adjacent closed chock fairleads. The deck wa
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                                                                                                 ted at centreline aft
with a 60m x 14.5m x 2.5m bin wall horizontally and vertically stiffened with flanged plate. Located
                                                                                          gers. The hydraulic
was a 12m x 5m loading ramp raised and lowered by two (2) “Braden Winch Co.” hydraulic tuggers.
                                                                                            art and built-in fuel
tuggers were powered by a skid mounted, John Deere 4-cylinder diesel engine with electric start
                                                                                              d one (1) starboard
tank. The barge was outfitted with navigation light holders on both port and starboard bow, and
                                                                                                 ixed mooring in the
on centreline at stern. At the time of survey the barge was anchored via a rope connection to a fixed
                                                                                    rd and port sides
Gulf of Paria. The vessels Secretariat and Guardian were moored alongside on starboard
                                                                                                   d at time of survey
respectively, limiting full visibility of side shell plating. No underwater inspection was performed
                                                                                        nimal water ingress
and the barge was observed to have a mean draft of 0.75m on even keel which indicated minimal
based on an assumed lightship data. (See Annex 1 for photos)



TOWING BRIDLE

The towing arrangement consisted of padeyes located on port and starboard at bow with adjacent closed chocks
and a 55T shackle with thirteen (13) links of 2” diameter stud link chain connected to each towing padeye. The
towing pad eyes were severely corroded and port padeye distorted. The visible chain links of both bridle chains
were also severely corroded including the joining shackle pin and several center studs were missing from the chain
links on deck. However, both bridle fairleads were partly corroded but in satisfactory condition. The centreline
padeye was fitted with a 55T shackle and a 2” diameter emergency tow wire threaded through the centerline
fairlead and clipped along the starboard deck edge. The emergency towing wire was also moderately corroded and
the lengths of towing bridle chains and tri-plate connection that have been submerged for more than 1year and
should be considered for replacement. (See Annex 2 for photos)

GENERAL CONDITION: Immediate maintenance required.



MAIN DECK

Inter-frame deformation was evident throughout the main deck with average deflection and wash boarding
measuring 4cm. The main deck protective coating was non-existent and minor remnants of previous cargo evident.
As a result of weathering and no apparent recent maintenance of all 8 strakes of plating, moderate surface
corrosion was evident throughout and deck impressions of transverse bulkheads visible. The perimeter of the main
deck was outfitted with a steel welded bin wall which was found mostly uncoated. Port and starboard bow
navigation lights were outfitted forward on stanchions atop the bin wall however both stanchions were found with
severe corrosion and wastage. A stern light stanchion was also provided on the starboard side of the aft ramp and
anchor day shape on the fore deck. All navigation lights, screens and photo cell units were found in place.
(See Annex 3 for photos)

GENERAL CONDITION: Fair




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FORWARD RAKE AND TRANSOM PLATING

The external hull coating in these areas was estimated to be 60% depleted and found with no significant
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however, rust staining and minor corrosion was evident throughout. (See Annex 4 for photos)                     2021-06-29
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GENERAL CONDITION: Fair



FORWARD AND AFT DECKS

These areas were located forward and aft of the bin walls. The protective coating was 50% depleted
                                                                                              eted with minor
corrosion evident but without deformation or wash boarding. The fore deck contained the anchor mooring rope, the
                                                                                               d with a hinged
tail of the emergency tow wire and towing bridle arrangements whereas the aft deck was outfitted
cargo access ramp, hydraulic tugger winches and a tank and engine mounted on a containment skid. The engine
                                                                                                 tion. No obvious
was considered to require general servicing however hydraulic fittings were in satisfactory condition.
defects were observed on the stern ramp hinges and supporting Sampson posts however, all vehicle anti-skid
arrangements on the ramp were damaged. A severe indentation approximately 1m in length with an indentation of
depth greater than 5cm at mid span was observed on port side aft 3m forward of the mooring bollard.
(See Annex 5 for photos)

GENERAL CONDITION: Fair



STARBOARD HULL CONDITION

The starboard side shell plating was noted to have several indents in numerous locations above the waterline
varying in maximum deflection between 1cm - 4cm. Additionally, several areas of plating were wash boarded and
with deflections at mid span of an average depth of 3cm. The upper rub rail was observed to have multiple indents
of varying sizes and deformation with a maximum depth of 5cm. The lower rub rail was also observed to have
multiple indents and deformation throughout with an average depth of 4cm and two vertical weld cracks. The
protective paint coating of plating and rub rails was assessed as being 60% depleted with rust staining visible
throughout. (See Annex 6 for photos)

GENERAL CONDITION: Fair




PORT HULL CONDITION

The port side shell plating was noted to have several indents in numerous locations above the waterline varying in
maximum deflection between 2cm - 5cm. Additionally, several areas of plating were wash boarded and with
deflections at mid span with an average depth of 3cm. The upper rub rail was observed to have multiple indents of
varying sizes and deformation with a maximum depth of 5cm. The lower rub rail was also observed to have
multiple indents and deformation throughout with an average depth of 5cm and one vertical weld crack. The
protective paint coating of plating and rub rails was assessed as being 65% depleted with rust staining visible
throughout. (See Annex 6 for photos)

GENERAL CONDITION: Fair


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HEAD LOG
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Head log plating found dented, deformed and wash boarded with a maximum deflection of 5cm throughout
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                                                                                                           with the
severest indents noted in way of wrap around areas for port and starboard side shell plating.
(See Annex 6 for photos)

GENERAL CONDITION: Fair



ANCHORING AND MOORING EQUIPMENT

                                                                                         e was attached by
The vessel was not outfitted with anchors or an anchor windlass however, the towing bridle
shackles onto bow pad eyes and bridle chains draped into the water via port and starboard bow fairleads. The
barge was anchored using the towing bridle leading forward. Mooring bollards were outfitted on port and starboard
bow shoulders and port and starboard aft quarters. All mooring bollards were found with moderate corrosion
evident on foundations. Four sets of mooring cleats were provided equidistantly along port and starboard sides. All
mooring cleats were also observed to have moderate corrosion evident.
(See Annex 7 for photos)

GENERAL CONDITION: Fair



MANHOLE COVERS

The vessel had manhole covers outfitted inboard and outboard of the cargo bin walls. No physical damages were
noted for the hatches however, all sealing mechanisms were considered 50% degraded and with moderate
corrosion evident. No tanks were opened and prepared for internal inspection at time of survey.
(See Annex 8 for photos)

GENERAL CONDITION: Fair



BINWALLS AND GUARD RAILS

The barge was outfitted with a 3m high bin wall extending throughout the vessel’s perimeter approximately 2m
inboard of the side shell with the only opening being in way of the aft cargo ramp. The bin wall consisted of two
strakes of plating supported by outboard angular stanchions and mid span framing. The outboard side of the port
and starboard bin walls were severely corroded with knife edge plating evident throughout however no holes due to
wastage were noted. The inboard face of the port and starboard bin walls exhibited moderate corrosion on the
lower strake of plating and 80% depletion of coating on the upper strake. A 5ft crack was found on bin wall plating
on the port side 30ft from stern at mid height and a severe indentation due to overhead impact forward of
amidships on the starboard side. (See Annex 9 for photos)

GENERAL CONDITION: Poor




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INTERNAL CONDITION OF TANKS

No tanks were prepared for internal inspection at time of survey therefore the following damages
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conducted for On and Off Hire Charter purposes 1year previous was considered to have remained un
                                                                                              u nchanged  and
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without maintenance.                                                                                              11:24:40


Port Bow Rake

    ¾      Hatch chain adrift.
    ¾      Rake plating deformed in aft bay between bottom longitudinals #1 and #2.
    ¾      Rake knuckle indented in two (2) areas ust forward of side chord #3.
    ¾      Rake knuckle indented in way of side chord #2.
    ¾      Side longitudinal #2 bowed in bays #2 and #3.
    ¾      Side longitudinal #1 bowed in bays #1 and #2.

Port Inboard Bow Rake

    ¾ No noticeable damage.

Starboard Bow Rake

    ¾      Side chord #4 bowed over the full height.
    ¾      Bottom chord #4 distorted outboard.
    ¾      Side chord #3 distorted over the full height.
    ¾      Side chord #2 deformed at side longitudinal #3 and #2
    ¾      Rake knuckle indented midway of bay #2.
    ¾      Side longitudinal #2 distorted in bay #2.

Starboard Inboard Bow Rake

    ¾      Hatch chain adrift.
    ¾      No noticeable damage.

Starboard #1

    ¾      Side longitudinals #4-6 bowed in bay #2.
    ¾      Side chord #2 deformed.
    ¾      Bottom plating indented in bay #3.
    ¾      Side longitudinals #2, #4, & #5 bowed in bay #4.
    ¾      Side chord #4 distorted.
    ¾      Side longitudinals #2, #3, #5 and #6 bowed in bay #5.

Starboard #2

    ¾      Side longitudinals #3-5 bowed in bay #1.
    ¾      Side chord #1 distorted over the full height.
    ¾      Side longitudinals #4-6 bowed in bay #3.
    ¾      Bottom longitudinal #1 from starboard distorted in bay #3.
    ¾      Aft corner bracket #1 distorted.
    ¾      Side chord #4 bowed over the full height

Starboard #3

    ¾      Side longitudinal #4 bowed in bay #1.
    ¾      Side chord #1 bowed.
    ¾      Side longitudinal #5 bowed in bay #3.
    ¾      Side longitudinals #3-5 bowed in the aft bay


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Starboard #4

    ¾      Side chord #1 bowed over the full height.
    ¾      Side chord #3 distorted over the full height.
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    ¾      Side longitudinals #1 and 6 bowed in bay #4.
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    ¾      Side chord #5 bowed over the full height.

Starboard Outboard Transom

    ¾      Hatch chain adrift.
    ¾      Side longitudinal #2 bowed in bay #1.
    ¾      Side longitudinal #3 bowed in bay #1.
    ¾      Side longitudinals #2 and #4 bowed aft.

Starboard Inboard Transom

    ¾      Hatch chain adrift.
    ¾      Forward deck brackets #3-5 distorted.
    ¾      Horizontal transom stiffener #3 bowed over its width

Port Outboard Transom

    ¾      Hatch chain adrift.
    ¾      Forward bulkhead distorted outboard.
    ¾      Bottom plating set indented in way of side chord #1.
    ¾      Side longitudinal #2 bowed in bay #3.
    ¾      Side chord #4 bowed over the full height.
    ¾      Side longitudinals #2-4 distorted in the aft bay.

Port Inboard Stern Transom

    ¾      Hatch chain adrift.
    ¾      Forward deck brackets #2 and #3 distorted.
    ¾      Forward bulkhead distorted over the full height between bottom longitudinals #3 to #6.

Port #1

    ¾      Hatch chain adrift.
    ¾      Side chords #1-5 distorted over the full height.
    ¾      Side longitudinals #1, #2 & #4 bowed in bay #1.
    ¾      Side longitudinals #1, #2, #5, & #6 bowed in bay #2.
    ¾      Side longitudinals #4-6 distorted in bay #3.
    ¾      Side longitudinal #5 bowed in bay #4.

Port #2

    ¾      Side longitudinal #2 bowed in bays #2 and #3.
    ¾      Side longitudinal #5 bowed in bay #2.
    ¾      Side longitudinal #5 bowed in bay #3.
    ¾      Side chords #2-4 bowed full height.
    ¾      Side longitudinal #1 bowed in aft bay.

Port #3

    ¾      Side   longitudinals #1-3 and #6 bowed in bay #1.
    ¾      Side   longitudinal #5 bowed in bay #2.
    ¾      Side   chord #4 bowed over its full height.
    ¾      Side   longitudinal #5 bowed in bay #4.
    ¾      Side   longitudinals #1, #5 and #6 bowed in bay #5.
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    ¾      Side chord #5 crimped over the upper half.
    ¾      Aft corner bracket #1 distorted.
    ¾      Side longitudinal #2 bowed in the aft bay.
    ¾      Aft corner bracket #1 distorted.                                                                     2021-06-29
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Port #4

    ¾      Hatch chain adrift.
    ¾      Deck longitudinals #1 & #2 bowed in bay #2.
    ¾      Side chord #2 crimped just above side longitudinal #2.
    ¾      Bottom plating set indented in bays #1, #3, and #4.
    ¾      Side longitudinals #2 and #4 bowed in bay #4.
    ¾      Side chord #4 bowed over the full height.
    ¾      Side longitudinals #2 and #6 bowed in the aft bay.
    ¾      Aft corner bracket #2 distorted.
    ¾      Access ladder wasted and broken 3m from main deck level.

Port 1 Inboard

    ¾      Hatch chain adrift.
    ¾      No noticeable distortions.

Starboard Inboard #1

    ¾      Bottom chords #2, 3, and 4 broken at bottom longitudinal #1

Port Inboard #2

    ¾      Bottom chords 1, 3 and 4 broken at the outboard edge of bottom longitudinal #1

Starboard Inboard #2

    ¾      No noticeable damage.

Port Inboard #3

    ¾      Hatch chain adrift.
    ¾      Bottom chord #2 distorted.

Starboard Inboard #3

    ¾      No noticeable damage

Port Inboard #4

    ¾      Bottom longitudinal #1 bowed 0-¾” in bay #1 with bottom bracket affected

Starboard Inboard #4

    ¾      Hatch chain adrift.
    ¾      No noticeable damage.




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“JMC 50”                                                                          Condition & Valuation Survey
                                                                                                        S   ey Report
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PLATING DAMAGE                                                                                                     2021-06-29
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Two areas of damaged plating with temporary repairs were identified during the inspection as follows:
                                                                                                lows:


          Starboard side shell plating sharply indented over an area 0.3m x 1m located just below
                                                                                                ow upper rub rail in
           the 3rd vertical bay ending with punctured plating which was internally welded.
          Bottom hull plating doubler noted in Bay 2 from forward at bottom of vertical support on starboard side.




REPORT ATTACHMENTS

    x      ANNEX 1: General Photographs

    x      ANNEX 2: Towing Bridle Photographs

    x      ANNEX 3: Main Deck Photographs

    x      ANNEX 4: Rake and Transom Photographs

    x      ANNEX 5: Forward and Aft Deck Photographs

    x      ANNEX 6: Head-log Port & Starboard Plating Photographs

    x      ANNEX 7: Mooring Equipment Photographs

    x      ANNEX 8: Manhole Covers Photographs

    x      ANNEX 9: Bin Walls Photographs

    x      Annex 10: USCG Certificate of Documentation and ABS Survey Status Report




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From: Dan Schwall
Sent: Monday, November 22,Z.OZL 6:45 PM
To: Ray Riddle
Subject: FW: Tow of JMC 50 (220' x 60' x 14') from Port of Spain Trinidad to Amelia,   LA


FYI



From: lvy Danos <idanos@crosbytugs.com>
Sent: Monday, November 22, 2O2L 5:22 PM
To: Dan Schwall <dschwall@4barges.com>
Cc: Kurt Crosby <kurt@crosbytugs.com>; Buddy Cantrelle <bcantrelle@crosbytugs.com>
Subject: RE: Tow of JMC 50 (220' x 60' x L4') from Port of Spain Trinidad to Amelia, LA

Dan

We would like to offer a lump sum of 780,000.00 to tow the JMC 50 from Trinidad to Amelia. Any delays out of the 24
hrs. in Trinidad will be bill at 950.00 per hr.

lvy Danos
Crosby Tugs LLC


From: Kurt Crosby <kurt@crosbvtugs.com>
Sent: Monday, November 22,2O2t 3:22 PM
To: lvy Danos <idanos@crosbvtugs.com>
Subiect: Fwd:Tow of JMC 50 (220'x 60'x 14')from Port of Spain Trinidad to Amelia,      LA




Sent from my iPhone

Begin forwarded message:

        From: Dan Schwall <dschwall@4ba rges.com>
        Date: November 22,202L at 3:2O:22 PM CST
        To: Kurt Crosby <kurt@crosbvtugs.com
        Subject: Tow of JMC 50 (22O' x 60' x 14') from Port of Spain Trinidad to Amelia, LA



        Kurt,


                                                            1




                                                                                                     EXHIBIT

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       We are looking for a quote to tow the subject barge from Trinidad back to Amelia

       Barge will be empty for the tow.

       Tow is being scheduled for February   / March   time frame.

       Please quote with 24 hours free time in Trinidad.

       Attached please find a spec sheet with GA for the JMC 50.

       Please let me know should you have any questions.

       Thanks and best regards,

       Dan Schwall
       Mobile: +1-206-310-5664

CONFIDENTIALITY NOTICE: This e-mail message, including any attachments, is for the sole use of the
intended recipient(s) and may contain confidential or proprietary information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, immediately contact the sender by
reply e-mail and destroy all copies of the original message.




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                                                                                                                                                                                AARON LUKKEN
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                                                                                             July zt, zozt

Scott Brownell
Scott D. Brownell, APLC
527 E. Boston St., Suite zot
Covington, LAZo433

                                                                       Re: Service in the British Virgin Islands
Dear Scott:

Many thanks for contacting me yesterday afternoon regarding service on your defendants in the British Virgln Islands
in thL CashmanEquipmeit Corp. matter. As you know, service in the islands mustbe effected pursuant-to the Hague
Service Convention (HSC) and the United Kingdom's declarations thereto, but that technically provides three options:
Central Authority, private process server, or mail. I heartily recommend against mail service, especially during the
coronavirus pandemic.

The timeframes I indicate below do not contemplate Covid-rg delays, but I do not anticipate significant problems-at
least for the moment. Costs and time expectations with contingencies for solely the entity and the three individuals
in addition:
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Method z. Personal service via process server, Article ro(b),                                                                         3 weeks           to   proof                      (Recommended)


            Service via                process seru er, instructed by a solicitor :                                                                                                                 $6foo
                                   $r,8oo first defendant/case, ft6ee each add'l ($r,4oo at same address)                                                                                           $6,ooo

            Printing by solicitor                                  2                                                                                                                                Waiued

                                                                                                           Due in advance (one defendant)                                                       $r,8oo
                                                                                                      Due in advance (four defendants)                                                          $6,ooo


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This engagement is not effective until we have received: (r) Pre-payment via check, ACH, or wire transfer; (z) a copy
of this engagement letter, countersignedbA counsel, either in hard copy or PDF; (g) issued summonses and any
additional documents required by D. Mass. Local rules; and (4) definitive instruction as to whether we should target
only the company or also the individual directors at the company address. Terms and conditions are attached as an
addendum to this engagement and incorporated herein.e As always, I am happyto answer whatever additional
questions you may have, and I look forward to working with you.

My warmest       regards,                               Agreed and accepted by:




Aaron Lukken, Managing Member
VikingAdvocates, LLC
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ADL/
                                                          fclt               /l
                                                         (Printed name and title)
                                                        for Seott D. Brownell, APLC




Wire/ACH instructions:

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           ABARouting:                   1O1O15101
           S\AIIFT Code                  BAOKUS++
           Beneficiary Account Number:   404t52t
           BeneficiaryName;              VikingAdvocates LLC
           Beneficiary Address:          6525 Charlotte Street
                                         Kansas City, MO 64tgt-tto6
           Reference for Benefi ciary:   Brownell BYI zozt-o7 -zt



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